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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


      In Re:

      Todd Christenson and Mary Christenson,                                 Bky. No. 10−48186

                                Debtors.


      Todd Christenson,                                                      Adv. No.: 24-04033

                          Plaintiff,

      v.

      Steven J. Breitenfeldt,

                          Defendant.


   DEFENDANT’S NOTICE OF HEARING AND CROSS MOTION FOR SUMMARY
                            JUDGMENT


TO:        Todd Christenson, through is counsel of record.

           1.    Defendant Steven J. Breitenfeldt, by and through his undersigned attorney, moves

this court for the relief requested below and gives notice of hearing.

           2.    The court will hold a hearing on this motion at 10:00 a.m. on August 22, 2024, at

the United States Courthouse at 316 North Robert Street, St. Paul, Minnesota, 55101, or

telephonically, before Bankruptcy Judge Kesha Tanabe.

           3.    Any response to this motion must be filed and served as set forth in the Order

Approving Stipulation to Cross Motion Briefing Schedule.

           4.    The court has jurisdiction over this motion pursuant to 28 U.S.C §§ 157 and 1334,

Fed. R. Bankr. P. 5005 and Local Rule 1070-1. This proceeding is a core proceeding. The

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petition commencing this chapter 7 case was filed on November 1, 2010.. The case is now

pending in this court.

       5.      This motion arises under Fed. R. Bankr. P. 7056, Fed. R. Civ. P. 56 and Local Rule

7007-1 and 7056-1. Defendant Steven J. Breitenfeldt seeks to dismiss the adversary complaint

under Bankruptcy Rule 7056 and Federal Rule 56 because no disputed issues of material fact exist

and Defendant Steven J. Breitenfeldt is entitled to judgment as a matter of law.

       6.      On March 15, 2024, Plaintiff commenced this adversary proceeding against the

Defendant Steven J. Breitenfeldt by filing a complaint. On July 2, 2024, Plaintiff filed a motion

for partial summary judgment.

       WHEREFORE, Defendant Steven J. Breitenfeldt seeks an order of the Court denying

Plaintiff’s motion for partial summary judgment and granting Defendant summary judgment

dismissing the Complaint with prejudice.

                                                     GOERLITZ LAW, PLLC


Date: July 25, 2024                          By:     /e/ Jared M. Goerlitz
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA


     In Re:

     Todd Christenson and Mary Christenson,                                       Bky. No. 10−48186

                     Debtors.


     Todd Christenson,                                                            Adv. No.: 24-04033

                         Plaintiff,

     v.

     Steven J. Breitenfeldt,

                         Defendant.


 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S CROSS-MOTION FOR
PARTIAL SUMMARY JUDGMENT AND IN OPPOSITION TO PLAINTIFF’S CROSS-
                MOTION FOR PARTIAL SUMMARY JUDGMENT
______________________________________________________________________________

          Defendant Steven J. Breitenfeldt (“Defendant”) submits this memorandum of law in

support of his cross-motion for summary judgment to dismiss Plaintiff Todd Christenson’s

(“Plaintiff”) adversary complaint and in opposition to Plaintiff’s cross-motion for summary

judgment. Consistent with the Court’s record at the preliminary injunction hearing, Plaintiff does

not have a valid claim that the settlement between the parties in the original adversary proceeding

is unenforceable. During the pendency of that adversary proceeding, and to settle that adversary

proceeding, the parties entered into a valid and enforceable settlement. In addition, the adversary

court retained jurisdiction to enforce that settlement – which it could still do – and Plaintiff’s claims

are barred by the doctrine of laches. As set forth below, Defendant’s motion for partial summary

judgment should be granted and Plaintiff’s motion for partial summary judgment should be denied.

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                          STATEMENT OF UNDISPUTED FACTS

       The following facts are undisputed and form the basis for the motion requesting an order

granting Defendant partial summary judgment:

       1.      On November 1, 2010, Plaintiff filed Chapter 7 bankruptcy (the “Bankruptcy

Case”). (Bky. Case No. 10-48186, Doc. 1).

       2.      On January 20, 2011, in the Bankruptcy Case, Defendant filed a Complaint for

Determination of Dischargeability of Debt resulting in Adv. No. 11-04018 (the “Adversary

Case”). (Otsuka Decl. ¶ 3, Ex. B).

       3.      On February 3, 2011, a discharge order was entered by the Court in the Bankruptcy

Case. (Otsuka Decl. ¶ 3, Ex. B).

       4.      By Settlement Agreement dated August 18, 2011 and Confession of Judgment

dated October 5, 2011 (collectively the “Settlement”), Plaintiff and Defendant settled the

Adversary Case. (Breitenfeldt Decl. ¶ 2, Ex. 1).

       5.      By Order entered on September 14, 2011 in the Adversary Case, the Court Ordered:

       That this adversary proceeding is hereby dismissed without prejudice and without costs to
       any party. The Court hereby retains complete jurisdiction to vacate this order and to reopen
       the proceeding upon cause shown that further litigation is necessary, that a settlement has
       not been completed or that the parties wish to submit and file a stipulation or stipulated
       form of final judgment to complete a settlement.

(Otsuka Decl. ¶ 5, Ex. D).

       6.      Plaintiff defaulted on the Settlement. (Breitenfeldt Decl. ¶ 3; see, e.g. Otsuka Decl.

¶ 6, Ex. E). Defendant filed the confession of judgment and on January 29, 2013 judgment was

entered against Plaintiff in Anoka County District Court File No. 02-CV-13-679 (the “1st Anoka

Judgment”). (Id.)

       7.      Plaintiff did not respond or oppose the filing of the Confession of Judgment or the

obtaining of the 1st Anoka Judgment. (Breitenfeldt Decl. ¶ 3).
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         8.     After the entry of the 1st Anoka Judgment, by letter dated May 12, 2017, counsel

for Defendant verified that the application for discharge of judgment sought by Plaintiff did not

apply to the 1st Anoka Judgment. (Breitenfeldt Decl. ¶ 4, Ex. 2).

         9.     Defendant also sought to collect on the 1st Anoka Judgment through garnishment,

(see, e.g. Compl. ¶ 21; Ans. ¶ 11) and through a subpoena dated June 7, 2017 and subsequent

communications with Plaintiff whereby tax returns and bank statements were provided for

Defendant to collect on the 1st Anoka Judgment. (Breitenfeldt Decl. ¶ 5, Ex. 3).

         10.    On January 13, 2023, Defendant sought to renew the 1st Anoka Judgment in Anoka

County District Court File No. 02-CV-23-235. (Otsuka Decl. ¶ 7, Ex. F).

         11.    On March 30, 2023, entry of judgment was entered in Court File No. 02-CV-23-

235 (the “2nd Anoka Judgment”). (Breitenfeldt Decl. ¶ 6; Otsuka Decl. ¶¶ 8-9, Ex. G-H).

         12.    Plaintiff did not respond or oppose the renewal of the judgment or the obtaining of

the 2nd Anoka Judgment. (Breitenfeldt Decl. ¶ 6).

         13.    On March 1, 2024, Defendant first learned Plaintiff was alleging that the Settlement

was unenforceable. (Id. at ¶ 7).

                                          ARGUMENT

I.       MOTION FOR SUMMARY JUDGMENT STANDARD

         Federal Rule of Civil Procedure 56 applies to bankruptcy adversary proceedings. Fed. R.

Bank. Pro. 7056. Summary judgment is appropriate when there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). A

party seeking summary judgment bears the initial burden of demonstrating the absence of a

genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). After the moving

party has met its initial burden, summary judgment is appropriate if the non-moving party fails to



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rebut with facts “sufficient to establish the existence of an element essential to that party’s case,

and on which that party will bear the burden of proof at trial.” Id. “If the evidence is merely

colorable, or is not significantly probative, summary judgment may be granted.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 249–50 (1986).

       As outlined below, no issues of genuine fact exist, and Defendant is entitled to judgment

as a matter of law. Defendant’s motion for partial summary judgment should be granted.

II.    THE SETTLEMENT AGREEMENT IS A VALID AND ENFORCEABLE
       CONTRACT.

       Plaintiff and Defendant entered into a valid and enforceable post-petition settlement in

which the terms, and meeting of the minds, are set forth in the Settlement. Because the parties

entered into a valid and enforceable post-petition settlement, Plaintiff’s theory is wrong, and

Defendant is entitled to judgment dismissing Plaintiff’s adversary complaint.

       1. Settlement Agreements are Contracts.

       A settlement agreement is a contract. Ryan v. Ryan, 292 Minn. 52, 55, 193 N.W.2d 295,

297 (1971). “A contract is formed when two or more parties exchange bargained-for promises,

manifest mutual assent to the exchange, and support their promises with consideration.” Med. Staff

of Avera Marshall Reg'l Med. Ctr. v. Avera Marshall, 857 N.W.2d 695, 701 (Minn. 2014) (citing

Restatement (Second) of Contracts § 17 (1981). “Consideration requires that one party to a

transaction voluntarily assume an obligation on the condition of an act or forbearance by the other

party.” U.S. Sprint Commc'ns Co., Ltd. v. Comm'r of Revenue, 578 N.W.2d 752, 754 (Minn. 1998);

see also Baehr v. Penn–O–Tex Oil Corp., 258 Minn. 533, 539, 104 N.W.2d 661, 665 (1960)

(explaining that consideration “insures that the promise enforced as a contract is not accidental,

casual, or gratuitous, but has been uttered intentionally as the result of some deliberation,




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manifested by reciprocal bargaining or negotiation”).

       Here, we have a settlement supported by proper consideration whereby Plaintiff voluntarily

assumes an obligation to pay Defendant $100,000 and Defendant agrees to forgo his claim for

$339,394.14 in the Adversary Case and forbearing to proceed to judgment and seeking post-

judgment remedies against Plaintiff. (See Breitenfeldt ¶ 2, Ex. 1). Notably, this was not some

promise to do something that one is already legally obligated to do and provides no benefit making

it a “mere naked promise,” Hilde v. Int'l Harvester Co. of Am., 166 Minn. 259, 260, 207 N.W. 617,

618 (1926), that does not constitute consideration. Tonka Tours, Inc. v. Chadima, 372 N.W.2d 723,

728 (Minn. 1985) (stating the common law rule that if a party does or promises to do what he is

already legally obligated to do, there is insufficient consideration to support the new promise).

When the language is clear and unambiguous, we enforce the agreement of the parties as expressed

in the language of the contract. Valspar Refinish, Inc., v. Gaylord's, Inc., 764 N.W.2d 359, 364

(Minn. 2009).

       Importantly, the Settlement must be viewed in the context in which it was entered –during

the pendency of the Adversary Case whereby $339,394.14 was sought to be determined

nondischargeable. And, adversary cases seeking debts be determined nondischargeable in

Minnesota are routinely settled under similar circumstances whereby a settlement agreement and

confession of judgment are entered into by parties without obtaining a determination of non-

dischargeability by the bankruptcy court. This important aspect of consideration – both parties’

agreement to the dismissal of the pending adversary case seeking to determine a debt non-

dischargeable – distinguishes the new consideration of these adversary settlements from other




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types of settlements of pre-petition debts determined to be unenforceable.

        Plaintiff and Defendant entered into a valid new contract – the Settlement.

        2. The Settlement Resulted in a New Post-Petition Debt.

        The best parallel for confirming that the Settlement is a valid and enforceable new post-

petition debt is the law involving prepetition education loans consolidated post-petition. “Courts

have long held that an educational loan consolidation discharges the previous educational loans

and if consolidation occurs postpetition, it creates a new postpetition obligation that cannot be

discharged”. In re Schultz, 615 B.R. 834, 844 (Bankr. D. Minn. 2020)(consolidating cases). The

logic, consistent with the Settlement here, is that “[a] consolidation loan is considered to be a new

loan which pays the balances owed on previous loans, extinguishing the original loans and all

rights and duties thereunder, and creating new rights and obligations in the new loan.” In re

Lakemaker, 241 B.R. 577, 581 (Bankr. N.D. Ill. 1999). Here, the Settlement creates similar new

consideration because the parties’ rights to proceed with the Adversary Case were extinguished

and new rights and obligations were created under the Settlement and confession of judgment.

Thus, like consolidated post-petition educational loans, adversary settlements – and the Settlement

here – result in new post-petition debts enforceable against the debtor.

        3. Plaintiff’s Reliance on In re Craytor is Misplaced.

        Plaintiff argues that In re Craytor, 650 B.R. 470, 479-80 (Bankr. D.N.J. 2023) “involve[s]

remarkably similar facts [and] is instructive”. (Pl. [‘s] Mem. p. 8). As the sole authority 1 that may




1
  The other cases relied upon by Plaintiff simply stand for the proposition that the bankruptcy court
should approve a settlement of an adversary proceeding seeking debts are non-dischargeable, but
do not otherwise state such settlements are unenforceable. See, e.g. In re Bermingham, 201 B.R.
808, 817 (Bankr. W.D. Mo 1996); In re Saler, 205 B.R. 737, 745 (Bankr. E.D. Pa. 1997). Notably,
these cases are also cited and relied upon by In re Craytor. See, 650 B.R. at 480.
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directly support Plaintiff’s position, Plaintiff’s reliance is misplaced.

        In Craytor, the parties agreed to the terms of a settlement that required the execution of

new post-petition notes and mortgages. See, 650 B.R. at 476. Facts were to be placed “on the

record to allow for a non-dischargeable judgment”. Id. And, the parties were to execute “any and

all documents to effectuate the terms of [the] settlement. Id.

        Although the parties came to such an agreement, an Order to Show Cause was issued by

the Court “to show cause why the adversary proceeding should not be dismissed for lack of

prosecution.” Id. at 477. The Order to Show Caused ended by stating: “This adversary

proceeding will be dismissed with prejudice if stipulation is not filed prior to hearing.” Id.

(emphasis in original). Then, no one attended the hearing, and the court dismissed the adversary

proceeding with prejudice. Id. Thus, despite the settlement, the parties later allowed the case to be

dismissed with prejudice. Notably, nothing happened for months, no settlement agreement was

signed, and no new post-petition notes and mortgages were executed. See id. In other words, the

settlement in Craytor did not result in any new consideration to support a settlement. See id.

        Plaintiff and Defendant here entered into a valid and enforceable Settlement that resulted

from new consideration that included the dismissal of the Adversary Case. Although the Court

could have approved the Settlement to make it nondischargeable, such approval was not required.

And, the only case that purportedly requires approval of the Settlement to make it

nondischargeable, is distinguishable. See id.

        Defendant’s motion for summary judgment seeking to dismiss Plaintiff’s case should be

granted. Plaintiff’s motion for partial summary judgment should be denied. 2



2
 Because a valid and enforceable Settlement exists, the remainder of Plaintiff’s claims are also
appropriate for dismissal with prejudice because they are all premised upon the Settlement being
unenforceable. There is no title to quiet under Count I. There is no violation of the discharge
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III.   EVEN IF PLAINTIFF IS CORRECT, THE COURT RETAINED JURISDICTION
       IN CAN NOW USE TO DETERMINE THE DEBT IS NON-DISCHARGEABLE.

        Even if Plaintiff’s theory was correct (which it is not), this Court can now simply determine

that the debt was non-dischargeable by approving the Settlement. As Plaintiff’s recognize, the

Order in the Adversary Case states:

       The Court hereby retains complete jurisdiction to vacate this order and to reopen the
       proceeding upon cause shown that further litigation is necessary, that a settlement has not
       been completed or that the parties wish to submit and file a stipulation or stipulated form
       of final judgment to complete a settlement.

If, as Plaintiff argues, all that is required is an order approving a settlement to make the Settlement

enforceable, the Court expressly retained jurisdiction to do just that; approve the Settlement. The

Court here should then just issue an order approving the Settlement making Plaintiff’s argument

irrelevant. Plaintiff has not identified any authority preventing the Court from exercising such

jurisdiction. Thus, if the Court does find any credibility to Plaintiff’s theory, it should exercise the

retained jurisdiction in the Adversary Case to approve the Settlement as agreed to by the parties.

IV.    PLAINTIFF’S CLAIMS ARE BARRED BY LACHES.

       Lastly, the doctrine of laches also allows the Court to dismiss Plaintiff’s adversary

complaint. “The doctrine of laches is defined as ‘[t]he equitable doctrine by which a court denies

relief to a claimant who has unreasonably delayed in asserting the claim, when that delay has

prejudiced the party against whom relief is sought.”’ In re RFC & ResCap Liquidating Tr. Litig.,

No. 13-CV 3520 JRT/HB, 2015 WL 2451254, at *11–12 (D. Minn. May 21, 2015) (quoting

Black's Law Dictionary (9th ed. 2009)); see also Martin v. Dicklich, 823 N.W.2d 336, 340 (Minn.

2012). “Application of the doctrine of laches depends on a factual determination in each case.”

Harr v. City of Edina, 541 N.W.2d 603, 606 (Minn. App. 1996). To determine if laches applies,


injunction under Count II. There cannot be any contempt under Count III. Therefore, Plaintiff’s
adversary complaint, in its entirety, should be dismissed with prejudice.
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courts consider “‘whether there has been such an unreasonable delay in asserting a known right,

resulting in prejudice to others, as would make it inequitable to grant the relief prayed for.’” Id.

(quoting Fetsch v. Holm, 52 N.W.2d 113, 115 (Minn. 1952)). The courts must consider the

following factors when deciding whether the doctrine of laches applies: (1) the availability of the

defense as determined by the nature of the action, (2) the reasons for the delay, (3) prejudice, and

(4) policy considerations. M. A. D. v. P. R., 277 N.W.2d 27, 29 (Minn. 1979)

       “A claimant has knowledge of the right to make a claim when the claimant has actual notice

of the claim or, in the exercise of proper diligence, ought to have discovered the claim.” In re

WCAL Charitable Tr., No. A09-703, 2009 WL 5092650, at *6–7 (Minn. Ct. App. Dec. 29, 2009)

(emphasis added). Unlike statutes of limitation, the application of laches is:

       principally a question of the inequity of permitting the claim to be enforced, - an inequity
       founded upon some change in the condition or relations of the property or the parties.

                                      […]

       [Laches may be applied] where a court of equity finds that the position of the parties has
       so changed that equitable relief cannot be afforded without doing injustice, or that the
       intervening rights of third persons may be destroyed or seriously impaired….

Kahnke v. Green, 695 N.W.2d 148, 152–53 (Minn. Ct. App. 2005) (quoting Ward v. Sherman, 192

U.S. 168, 177 (1904)). Finally, while it is not required, prejudice “is an important consideration in

determining the reasonableness of a delay.” Id. at 153.

       Here, if Plaintiff’s theory has any merit, a judgment was docketed against him many years

ago, collection actions were taken against him many years ago, he was represented by the same

law firm he is now at one point and has had a significant amount of time to discover his claim that

the Settlement was unenforceable because it was not approved by the Court. If unreasonable delay

exists, this must be it. No reasonable excuse exists for waiting thirteen years. Importantly, to the

extent there is some colorable argument that the Court no longer has jurisdiction under the


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Adversary Case to now approve the settlement, Defendant has then been prejudiced. Certainly,

had Plaintiff raised the issue right away, Defendant would have used the retained jurisdiction and

had the Settlement approved. In total, Plaintiff’s adversary complaint should be barred by laches.

V.     DEFENDANT HAS VALID SLANDER OF TITLE AND ATTORNEY FEE
       COUNTERCLAIMS.

       Plaintiff seeks partial summary judgment dismissing Defendant’s slander of title

counterclaim and attorney fee counterclaim. The dismissal of both counterclaims is premised upon

Plaintiff prevailing on his theory that the Settlement is unenforceable. (Pl. [‘s] Mem. p. 16). In the

event Defendant prevails on his motion for partial summary judgment, the veracity of

counterclaims becomes apparent.

       The elements of a slander of title claim are: (1) false statement concerning the ownership

of real property; (2) publication of the false statement; (3) malice; and (4) special damages.

Brickner v. One Land Development Co., 724 N.W.2d 706, 711 (Minn. Ct. App. 2007)(citing

Paidar v. Hughes, 615 N.W.2d 276, 279-80 (Minn. 2000)). The filing of an instrument known to

be inoperative is a false statement that, if done maliciously, constitutes slander of title. Paidar v.

Hughes, 615 N.W.2d. at 280 (citing Kelly v. First State Bank of Rothsay, 145 Minn. 331, 332, 177

N.W. 347, 347 (1920). The malice element of a slander of title claim requires a “reckless disregard

concerning the truth or falsity of a matter – despite a high degree of awareness of probable falsity

or entertaining doubts as to its truth.” Brickner, 724 N.W.2d at 711-12.

       Here, on March 28, 2024, the Court denied the preliminary injunction for the reasons stated

on the record. On the record, the Court made Plaintiff aware that there was no likelihood of success

on the merits of his claim. Then, despite the Court’s statement, on April 2, 2024, Plaintiff filed a

lis pendens on the title to property Defendant completed his judgment execution sale. (Otsuka

Decl. ¶¶ 13-14, Ex. L-M). Therefore, the filing of the lis pendens was the filing of false statement


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done with reckless disregard. Defendant’s slander of title claim is valid and Plaintiff’s motion

seeking to dismiss it should be denied.

       Similarly, Plaintiff seeks to dismiss Defendant’s claim for attorney’s fees. Again, this is

based upon Plaintiff prevailing on his theory that the Settlement is not enforceable, and by

extension, the contractual right to attorney’s fees is unenforceable. (Pl. [‘s] Mem. p. 18). However,

because the Settlement is valid and enforceable, the contractual right to attorney’s fees is

enforceable. Plaintiff’s motion seeking to dismiss the attorney fee counterclaim should be denied.

                                          CONCLUSION

       For the reasons stated above, Defendant’s motion for summary judgment seeking to

dismiss Plaintiff’s case should be granted. Plaintiff’s motion for partial summary judgment should

be denied.

                                                      GOERLITZ LAW, PLLC


Date: July 25, 2024                           By:     /e/ Jared M. Goerlitz
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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


    In Re:

     Todd Christenson and Mary Christenson,                                 Bky. No. 10−48186

                    Debtors.


    Todd Christenson,                                                       Adv. No.: 24-04033

                        Plaintiff,

    v.

    Steven J. Breitenfeldt,

                        Defendant.


 SWORN DECLARATION OF STEVEN J. BREITENFELDT FOR CROSS-MOTIONS
                         FOR SUMMARY JUDGMENT
______________________________________________________________________________

STATE OF MINNESOTA                       )
                                         )ss.
COUNTY OF SCOTT                          )

         1.    I am the Plaintiff in the above-referenced matter and submit this sworn declaration

for the cross-motions for summary judgment based upon my review of my records maintained in

the ordinary course of business and upon my personal knowledge.

         2.    A true and correct copy of the Confession of Judgment and Settlement Agreement

(the “Adversary Settlement”) with Plaintiff settling Adversary No. 11-04018 from my file is

attached hereto as Exhibit No. 1.

         3.    Plaintiff defaulted on his obligations under the Adversary Settlement causing me to

file the Confession of Judgment for the entry of judgment entered January 29, 2013 in Court File



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No. 02-CV-13-679 (the “1st Anoka Judgment”). Plaintiff did not respond or oppose my filing of

the Confession of Judgment or obtaining the entry of judgment on January 29, 2013.

       4.     Attached hereto as Exhibit No. 2 is a true and correct copy of the letter from my

file sent by my attorney on May 12, 2017.

       5.     Based upon a review of my file, my counsel served Plaintiff with a post judgment

subpoena dated June 7, 2017. Attached hereto as Exhibit No. 3 is a true and correct copy of the

email string from my file from communications between Plaintiff and my counsel from that

subpoena.

       6.     The 1st Anoka Judgment was not paid in full, and I retained counsel to renew the

judgment whereby the entry of judgment was entered on March 30, 2023 in Court File No. 02-

CV-23-235 (the “2nd Anoka Judgment”). Plaintiff did not respond or oppose my filing of the

renewal of the judgment or obtaining the entry of judgment on March 30, 2023.

       7.     On March 1, 2024, I first knew that Plaintiff was alleging that the Adversary

Settlement was unenforceable when my counsel provided me the letter from opposing counsel.

       I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE

UNITED STATES OF AMERICA THAT EVERYTHING I STATED IN THIS DOCUMENT

IS TRUE AND CORRECT.



Date: July 25, 2024                 By:       /s/ Steven J. Breitenfeldt
                                            Steven J. Breitenfeldt




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                     Breitenfeldt Declaration


                 EXHIBIT 1
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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA

In re:

Todd Christenson and Mary Christenson                        Bley. 10-48186 (RJK)

                          Debtors.

Steven J. Breitenfeldt,

                          Plaintiff,
v.                                                           Adv. No. 11-04018

Todd Christenson,
                          Defendant.


                                       SETTLEMENT AGREEMENT


         This agreement is entered into between Steven J. Breitenfeldt ("Breitenfeldt" or

"Plaintiff''), and Todd Christenson, ("Christenson" or "Defendant"). (Defendant and Plaintiff

may collectively hereinafter be referred to as the "Parties" and this agreement may hereinafter be

referred to as "Agreement.").

                                               RECITALS

         A.     The Defendant filed a volwttary petition under Chapter 7 of the United States

Bankruptcy Code (11 U.S.C. §101, et seq.) ("Bankruptcy Code") on November 1, 2010, thereby

commencing the above-referenced bankruptcy case (the "Bankruptcy Case").

         B.     The Plaintiff filed a complaint on January 24, 2011 commencing the above-

referenced adversary proceeding and seeking a determination of the dischargeability of the debt

owed by Defendant to Plaintiff.

         C.     The Parties wish to resolve the adversary proceeding pursuant to the terms hereof.
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                                           AGREEMENT

       NOW THEREFORE, based on the recitals set forth above, and in consideration of the

terms, conditions and covenants in this Agreement, the Parties hereby agree and stipulate as set

forth below.

       1.      Recitals.     The Recitals set forth in this Stipulation are adopted by the parties as

true and correct statements of the fact.

       2.      Payments. Defendant shall pay to Plaintiff the sum of $60,000 as follows:

               (a)     $10,000 on or before December 31, 2012;

               (b)     Annually, on or before the anniversary of the initial payment, five (5)
                       additional payments of $10,000 each.

Such payments shall be by cashier's check, or other immediately available funds, payable to

"Steven J. Breitenfeldt" at the address set forth in this Agreement, or such other address as

Plaintiff directs Defendant to make such payment. The amounts due hereunder may be prepaid

by Defendant at any time

       3.      Consideration. The parties each acknowledge that good and sufficient

consideration exists to support this Agreement, including, but not limited, to the following:

               a.      Plaintiff has filed an action contesting the dischargeability of the

       Defendant's obligations to Plaintiff, and the execution of this Agreement constitutes

       forbearance on the part of the Plaintiff from continuing its claims with respect to the

       discharge.

               b.      This Agreement permits the Defendant to avoid the cost of continuing

       defense of the dischargeability action and affords the Defendant an opportunity to pay the

       compromised amount in a manner feasible for the Defendant.
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              c.      This Agreement represents settlement of a dispute between the Plaintiff

       and the Defendant.

       4.     Continuing Obligation. Pursuant to this Agreement, the Defendant

acknowledges and agrees that:

              (a)     Defendant promises to pay the amounts set forth in paragraph 2 and that

       promise to pay such amounts is an obligation which continues notwithstanding                 "-

       Defendant's Chapter 7 bankruptcy and which is not subject to or discharged by the

       discharge granted to Defendant under 11 U.S.C. § 727; nothing in this Agreement affects

       Plaintiff's right to claim that the payments under the Settlement Agreement and the

       Confession of Judgment constitutes a debt that is not dischargeable in any future

       bankruptcy case filed by the Defendant.

              (b)     Defendant joins the Plaintiff in asking the Bankruptcy Court to enter an

       order approving this agreement.

       5.     Confession of Judgment. Contemporaneous with the execution of this

Agreement, Defendant agrees to execute and deliver to the Plaintiff, in a fonn satisfactocy to

Plaintiff, and substantially similar to the specimen attached hereto, a Confession of Judgment in   "-

the principal amount of $100,000.00. Plaintiff shall forbear from entering, docketing and

enforcing the Confession of Judgment, for so long as the Defendant fulfills his obligations

hereunder.

       6.     Default. If an Event of Default, as defined hereunder, occurs, the Plaintiff may

declare this Agreement in default.

              a       Event ofDefault.     It shall be an Event of Default hereunder if Defendant
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        fails to pay, in good funds, the amount required pursuant to the terms in paragraph 2 of

        this Agreement or to cure such default within the terms provided below.

               b.      Notice ofDefault.    Plaintiff shall provide notice of default by U.S. Mail,

        First Class to the Defendant at the last known address for Defendant, written notice of

        which is provided by Defendant to Plaintiff. The written notice of default shall state that

        the Defendant has ten (10) days from the date of the mailing of such notice to cure the

        default The notice shall further specify the date of mailing.

               c.      Cure ofDefault.     If the Defendant cures the default within ten (10) days

        of the mailing of such notice, the Plaintiff's agreement to forbear from entering the

        Confession of Judgment shall remain in full force and effect.

               d.      No Cure ofDefault.      If the Defendant fails to cure the default by the

        specified deadline, the Plaintiff may, without any further notice to the Defendant, proceed

        to enforce the remedies granted to it under the terms hereof.

               e.      Entry ofConfession ofJudgment.        If the Defendant fails to cure the

        default, then the Plaintiff may, without any further prior notice to the Defendant, cause

        the entry of the Confession of Judgment. To the extent that the Defendant has made any

        payments to Plaintiff prior to the occurrence of the default and entry of the Confession of

        Judgment, the balance of the judgment shall be reduced by the amount paid. After entry

        ofjudgment, Plaintiff may proceed to enforce the judgment thereby obtained, and collect

        the entire unpaid balance of the judgment, together with statutory interest thereon, and

        any fees and costs awarded as provided for herein.

               f.      Accrual ofCause ofAction.       The parties agree that the cause of action

        under the Confession of Judgment shall accrue upon the mailing of a notice of default. If
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       an Event of Default occurs, it is within Plaintifrs sole discretion whether to declare an

       Event of Default and mail written notice of same.

       7.     Governing law. This Agreement will be construed according to the laws of the

State of Minnesota.

       8.     Advice of counsel. Each of the parties to this Agreement have obtained such

counsel as each deems appropriate before entering into this Agreement, and each has

independently determined to enter into this Agreement. Both parties acknowledge that they have "'-

entered into this Agreement of their own free will and are under no coercion or dmess. This

Agreement shall be construed without regard to any presumption or other rule requiring

construction against the party causing the document to be drafted.

       9.     Entire Agreement. There are no oral side agreements between the Defendant

and the Plaintiff relative to the terms hereof; this Agreement represent the entire agreement

between the parties relative to the subject matter hereof which cannot be modified except in

writing.

       I 0.   Severability.     Any provision of this Agreement which is prohibited or

unenforceable will be ineffective to the extent of such prohibition or unenforceability without

invalidating the remaining portions of this Agreement.

       11.    Headings. The bold-faced headings at the beginning of each paragraph are for

convenience only and are not intended to be part of the substance of this Agreement; any

perceived inconsistencies between the heading and the text are to be governed exclusively by the

text

       12.    Counterparts, facsimiles, etc. This Agreement may be executed in any number

of counterparts, each of which will be deemed an original, all of which when taken together will
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  constitute the same and whole instrument. Facsimile signatures or other electronic signatures me

  binding as if originally executed.

           13.    Notices. Notices hereunder shall be sent as follows:

           To Plaintiff:   Steven J. Breitenfeldt
                           226 Rice Creek Boulevard
                           Fridley, JMN 55432

           To Defendant: Todd Christenson
                         7800 Pearson Way
                           Fridley, MN 55432

           14.    Dismissal. By signing this Settlement Agreement, and subject to court approval,

  the parties stipulate to dismissal of the adversary proceeding.



  IN WITNESS WHEREOF, the Parties, through their counsel, have ex




                                                 RICKE & SWEENEY, P.A.


  Dated:    8/t6/J..t> l l                      By:G' (\
                                                Lany B. Ricke, (#121800)
                                                325 Cedar S ~ Suite 600
                                                St. Paul, MN S5101
                                                Telephone: (6S1) 292-33S8
                                                Facsimile: (651) 223-8003

                                                Attorneys for Plaintiff Steven J. Breitenfeldt
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                         Breitenfeldt Declaration


                 EXHIBIT 2
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                     Breitenfeldt Declaration


                 EXHIBIT 3
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From:               Todd Christenson
To:                 George Warner
Subject:            Re: Breitenfeldt v. Christenson | 02-CV-13-679
Date:               Friday, July 28, 2017 9:46:10 AM
Attachments:        image001.png
                    Mackinnon lots 75-78.pdf


George, I do not have counsel. I am going to drop off bank statements today. Attached you will see a
drawing of my old golf course, lots 75, 76, 77 and 78 are on the 15th hole totaling 220 feet of frontage on
the golf course. One of my investors owns the property and is selling it for 50K, I might be able to cut a
deal with him to deed it to Steve. Tell Steve to take a look if he is interested. The course is in beautiful
condition with a new clubhouse and maintenance building. All the cabins are complete and they are
building the third townhouse building. I think in 5 to 10 years it will be worth twice that. I would buy it if I
had any money. Anyway, it is just a suggestion.

-----Original Message-----
From: George Warner <george@warnerlawmn.com>
To: Todd Christenson <todd2414c@aol.com>
Cc: Steve Breitenfeldt <sbreitenfeldt@yahoo.com>; Kristen Franklin <kristen@warnerlawmn.com>
Sent: Fri, Jul 28, 2017 9:23 am
Subject: Breitenfeldt v. Christenson | 02-CV-13-679

Todd:

First, as before, I am only communicating with you directly because you have indicated you do not
have an attorney. If you have retained a lawyer in this matter, please advise immediately so I speak
instead with your legal counsel.

Second, thanks for forwarding this information. Based on these materials, and other developments,
my client has instructed me to postpone Monday’s deposition to a later, mutually-agreed date and
time under the previously-served subpoena. My apologies for the last-minute notice.

I will also call you at your phone number indicated below. But please reply to this e-mail to confirm
receipt of this message and your understanding that you do not need to appear on Monday.

Thanks.

George E. Warner, Jr.
Warner Law, LLC
Attorney at Law | Creditors' Rights Specialist (American Board of Certification)
120 South Sixth Street | Suite 1515
Minneapolis, MN 55402-1817
952-922-7700 Voice (Ext. 164 after-hours)
george@warnerlawmn.com | www.warnerlawmn.com

Disclosure: This communication is with a debt collector. Any information obtained will be used for that purpose.

From: Todd Christenson [mailto:todd2414c@aol.com]
Sent: Thursday, July 27, 2017 10:09 AM
To: George Warner <george@warnerlawmn.com>
Subject: Breitenfeldt
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George, Attached are the tax returns you requested. I am going to drop off the Diamond View Partners
Bank statements and whatever I get at US Bank. If you want to talk at that time I may have something
Steve might want. I am not going forward with the Lino Lakes project the city wants something I am not
willing to do. I was planning on running it thru Diamond View Partners but with that not happening I am
going to shut down the bank account, there will be no more activity in that entity. Any new project will
have its own LLC and different partners.

Thanks,
Todd Christenson
763-268-9442
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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


    In Re:

     Todd Christenson and Mary Christenson,                                Bky. No. 10−48186

                              Debtors.


    Todd Christenson,                                                      Adv. No.: 24-04033

                        Plaintiff,

    v.

    Steven J. Breitenfeldt,

                        Defendant.


                                              ORDER


      This matter came on for hearing before the undersigned on Plaintiff and Defendant’s cross-
motions for summary judgment. Based on the record, the evidence adduced at the hearing, the
arguments of counsel, and the Court being fully advised on the subject,

         IT IS ORDERED:

   1. For the reasons stated on the record, Defendant’s motion for summary judgment is granted.
      Plaintiff’s adversary complaint fails as a matter of law and is hereby dismissed with
      prejudice.


Dated:__________________                                   __________________________
                                                           Kesha L. Tanabe
                                                           United States Bankruptcy Judge




                                                 1
